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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

 

v. )

) Case: 1:21—mj-00409
BRIAN E. STENZ ) Assigned To : Meriweather, Robin M.
) Assign. Date : 4/28/2021
) Description: COMPLAINT W/ ARREST WARRANT
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) BRIAN E. STENZ ‘
who is accused of an offense or violation based on the following document filed with the court:

1 Indictment O Superseding Indictment Information © Superseding Information [% Complaint
Probation Violation Petition © Supervised Release Violation Petition OViolation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority;
18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(D) - Violent Entry or Disorderly Conduct;
40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.
2021.04.28
* “(pe 17:37:46 -04'00"

Issuing officer's signature

Date: ___04/28/2021___

 

City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge

Printed name and title

 

 

Return

This warrant was received on (date) d [22 [021 , and the person was arrested on (date) 20/20
at (cityand state) Poa WasgiMSTow,

Date: oY | 30| por) es Cw

yosev <, Mc Ginw , Seca e Agent, PBL

Printed name and title

 

 

ne A officer's signature

 

 

 

 
